998 F.2d 7
    302 U.S.App.D.C. 389
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Benito Manfredo VALDEZ, Appellant.
    No. 92-3040.
    United States Court of Appeals, District of Columbia Circuit.
    June 25, 1993.
    
      Before:  EDWARDS, WILLIAMS, AND D.H. GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir. Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that appellant's convictions be affirmed.   The evidence presented was sufficient to permit a reasonable juror to inter that appellant possessed cocaine with intent to distribute and that he used a firearm in relation to that drug trafficking offense.   See United States v. Morris, 977 F.2d 671 (D.C.Cir.1992).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    